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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION
                               CASE NO. 23-80101-CR-CANNON(s)
  UNITED STATES OF AMERICA,

         Plaintiff,
  v.
  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                    GOVERNMENT’S OPPOSED MOTION FOR LEAVE
             TO FILE JOINT PROPOSED JURY QUESTIONNAIRE UNDER SEAL

         Today, February 28, 2024, the Government and defense intend to jointly file a proposed

  jury questionnaire, denoting areas of agreement and disagreement. See Min. Order, ECF No. 244.

  The parties finished a conferral today that began on the evening of February 26, but disagree as to

  whether the proposed questionnaire should be filed under seal: the Government advocates sealing,

  and the defense opposes.      Because effective voir dire involves soliciting unprejudiced and

  unvarnished information and opinions from potential jurors so that parties and courts can make

  prospective assessments of their impartiality, the proposed questionnaire and the process by which

  the questionnaire is finalized should be sealed until after jury selection. The Government therefore

  moves for leave to file the joint proposed questionnaire under seal today or, in the alternative, to

  submit it to the Court by email, pending resolution of this sealing request. The defense requests

  the opportunity to oppose the Government’s sealing request in writing. 1


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          The Government is mindful that permission of the Court must be obtained before filing
  any documents under seal, and that a motion for leave like this one should be made “sufficiently
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                                     Applicable Legal Principles

         Under the First Amendment, jury selection is a presumptively “public process,” which

  “may be overcome only by an overriding interest based on findings that closure is essential to

  preserve higher values and is narrowly tailored to serve that interest.” Press-Enter. Co. v. Super.

  Ct. of Cal., 464 U.S. 501, 505, 510 (1984). Under the Sixth Amendment, jury selection is vital to

  a fair trial—and “the district court’s duty is to conduct a thorough jury-selection process that allows

  the judge to evaluate whether each prospective juror is ‘to be believed when he says he has not

  formed an opinion about the case.’” United States v. Tsarnaev, 595 U.S. 302, 313 (2022) (quoting

  Mu’Min v. Virginia, 500 U.S. 415, 425 (1991)).

         Because that thorough inquiry is aided greatly by ensuring that prospective jurors do not

  access the substance of voir dire until the time it is conducted, particularly in cases involving

  pretrial publicity like this—see United States v. Stewart, No. 03-cr-717, ECF Nos. 74 & 87, 2004

  WL 6519, *1-2 (S.D.N.Y. Dec. 2, 2003; Jan. 15, 2004; Jan. 15, 2004), overruled on other grounds

  (sealing voir dire itself) by ABC, Inc. v. Stewart, 360 F.3d 90, 101 (2d Cir. 2004) (utilizing sealed

  jury questionnaire in the highly publicized Martha Stewart case)—courts often seal proposed and

  final questionnaires until after jury selection. See, e.g., United States v. Menendez, No. 2:15-cr-

  155, ECF Nos. 37, 182, 198, 202, & 203 (D.N.J. July 1, 2015; June 21, 2017, Aug. 24, 2017; Aug.

  25, 2017) (docket entries reflecting court’s instruction on July 1, 2015, to submit to it a joint

  proposed jury questionnaire by August 18, and subsequent public docketing of blank questionnaire

  after jury selection was complete—reflecting that neither proposed nor final questionnaire was

  publicly docketed until after jury selection); United States v. McDonnell, No. 3:14-cr-12, ECF



  in advance of the related filing deadline to permit adequate Court consideration.” ECF No. 283 at
  9-10. The conferral on the questionnaire was delayed due to busy calendars of all involved, and
  the Government respectfully requests that the Court consider that an extenuating circumstance.


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  Nos. 64 & 180 (E.D. Va. Feb. 21 & July 1, 2014) (directing parties to exchange proposed jury

  questionnaires and submit them directly to the court, rather than file them on the docket). Such a

  procedure protects the integrity of a fair jury selection process with the narrow tailoring necessary

  to ensure public access.

                                               Discussion

         Pre-publication of the proposed jury questionnaire risks impeding this Court’s ability to

  conduct a thorough and fair selection process for several reasons. First, it risks providing potential

  jurors, and those who may wish to influence potential jurors, the equivalent of the questions and

  answers to a test before it is administered. As a matter of common sense, assessing unrehearsed

  responses to questions is an ineffective manner to evaluate each potential juror’s impartiality, and

  providing the questionnaire in advance will hinder the Court’s ability to effectively do so. See

  United States v. Taveras, 436 F. Supp. 2d 493, 504 (E.D.N.Y. 2006) (sealing jury questionnaire

  from the press until the first day of jury selection: “Neither the venire nor the press will receive

  the questionnaire before the first day of jury selection. In some respects the questionnaire is like

  a Rorschach test; the answers tend to reflect real, rather than feigned, opinions only when

  immediate and unrehearsed.”); United States v. Rodriguez, No. 2:04-cr-55, 2006 WL 8438023, *2

  (D.N.D. June 29, 2006) (approving sealing of proposed introductory statement to jury

  questionnaire “to ensure that prospective jurors did not get a preview of the questionnaire”); cf.

  Rosales-Lopez v. United States, 451 U.S. 182, 189 (1981) (“Because the obligation to impanel an

  impartial jury lies in the first instance with the trial judge, and because he must rely largely on his

  immediate perceptions, federal judges have been accorded ample discretion in determining how

  best to conduct the voir dire.”).




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         Second, the publicity surrounding this case creates a substantial risk that the draft

  questionnaire will be widely publicized in this district, along with advice or instructions as to how

  the questions should be answered. See, e.g., United States v. Tsarnaev, No. 13-cv-10200, 2015

  WL 631330, *3 (D. Mass. Feb. 13, 2015) (partially sealing voir dire, including the identities of

  potential jurors, to protect against “potential jury contamination”).

         Third, potential jurors may have strong views about Trump, his co-defendants, or the

  Government in this case, and providing advance information about the contents of the

  questionnaire increases the risk that potential jurors may craft their answers to increase their odds

  of serving or avoiding service on the jury. See United States v. Nacchio, No. 05-cr-545, 2007 WL

  9723305, *3 (D. Colo. Jan. 25, 2007) (“The significant publicity surrounding the instant case gives

  this court reason to suspect that some members of the jury pool may have a preference to serve or

  avoid service on this jury. . . . By sealing the questionnaire until the first day of voir dire, this

  court seeks to avoid having the media alert potential jurors that they are being considered for

  service on the Qwest case; thus subverting a degree of potential juror self-selection.”).

         Finally, giving the public a window into the process through which certain questions are

  selected for the final questionnaire by publishing the parties’ proposals and back-and-forth

  reasoning with the Court risks all the same prejudice outlined above. The media’s attention to and

  scrutiny of that process risks amplifying the harms addressed above and improperly influencing

  potential jurors’ questionnaire responses, thereby hindering the Court’s assessment of impartiality.

         Sealing the proposed jury questionnaire will protect the Court’s jury selection process from

  these risks—and continuing that sealing just until jury selection is finished will restrict public

  access only as far as necessary to do so. See Tsarnaev, 2015 WL 631330 at *3 (finding partially

  sealed jury procedures to ensure candor, prevent juror contamination, and promote efficiency




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  “accommodate the right of media access while protecting the integrity of the jury selection process

  and the defendant’s right to an impartial jury”); Nacchio, 2007 WL 9723305 at *3 (“Because the

  questionnaires will be released on the day of voir dire, this restriction is narrowly tailored, minutely

  affecting media access.”). Sealing the joint proposed questionnaire until the jury has been selected

  is a modest step that properly balances First and Sixth Amendment interests and ensures the overall

  integrity of the judicial process. For the reasons explained herein, there are effectively no means

  short of sealing—for that limited time period—that will accomplish the same objectives.

                                                Conclusion

          For these reasons, there is an overriding interest to seal the joint proposed jury

  questionnaire until after jury selection. The Government therefore seeks leave to file the joint

  proposed jury questionnaire under seal today or, in the alternative, requests permission to provide

  it to the Court via email pending final resolution of this sealing request.



                                                  Respectfully submitted,
                                                  JACK SMITH
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                                          By:     /s/ Jay I. Bratt
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  February 28, 2024




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                                     CERTIFICATE OF SERVICE

         I hereby certify that on February 28, 2024, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission

  of Notices of Electronic Filing.

                                              /s/ Jay I. Bratt
                                              Jay I. Bratt




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